Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 1 of 40

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Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 2 of 40

An Analysis of Surveys Regarding Absentee Ballots Across Several States

William M. Briggs
December 15, 2020

1 Summary

Survey data was collected from individuals in several states, sampling those who the states listed as not returning absentee
ballots. The data was provided by Matt Braynard.

The survey asked respondents whether they (a) had ever requested an absentee ballot, and, if so, (b) whether they had
in fact returned this ballot. From this sample I produce predictions of the total numbers of: Error #1, those who were
recorded as receiving absentee ballots without requesting them; and Error #2, those who returned absentee ballots but
whose votes went missing (ie. marked as unreturned).

The sizes of both errors were large in each state. The states were Georgia, Michigan, Wisconsin, and Arizona where
ballots were across parties. Pennsylvania data was for Republicans only.

2 Analysis Description

Each analysis was carried out separately for each state. The analysis used (a) the number of absentee ballots recorded as
unreturned, (b) the total responding to the survey, (c) the total of those saying they did not request a ballot, (d) the total
of those saying they did request a ballot, and of these (e) the number saying they returned their ballots. I assume survey
respondents are representative and the data is accurate.

From these data a simple parameter-free predictive model was used to calculate the probability of all possible outcomes.
Pictures of these probabilities were derived, and the 95% prediction interval of the relevant numbers was calculated. The
pictures appear in the Appendix at the end. They are summarized here with their 95% prediction intervals.

Error #1: being recorded as sent an absentee ballot without requesting one.

Error #2: sending back an absentee ballot and having it recorded as not returned.

 

State Unreturned ballots Error #1 Error #2

Georgia 138,029 16,938 — (19,731) — 22,771 31,559 — (35,127) — 38,866
Michigan 139,190 29,611 — (32,984) — 36,529 27,928 — (31,229) — 34,710
Pennsylvania* 165,412 32,414 — (34,883) — 37,444 26,954 — (29,248) — 31,643
Wisconsin 96,771 16,316 — (17,759) — 19,273 13,991 — (15,336) — 16,757
Arizona 518,560 208,333 — (219,087) — 229,937 78,714 — (86,638) — 94,975

*Number for Pennsylvania represent Republican ballots only.

Ballots that were not requested, and ballots returned and marked as not returned were classed as troublesome. The
estimated average number of troublesome ballots for each state were then calculated using the table above and are presented
next.

 

State Unreturned ballots Estimated average Percent
troublesome ballots

Georgia 138,029 53,489 39%

Michigan 139,190 62,517 45%

Pennsylvania* 165,412 61,780 37%

Wisconsin 96,771 29,594 31%

Arizona 518,560 303,305 58%

*Number for Pennsylvania represent Republican ballots only.

3 Conclusion

There are clearly a large number of troublesome ballots in each state investigated. Ballots marked as not returned that were
never requested are clearly an error of some kind. The error is not small as a percent of the total recorded unreturned ballots.
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 3 of 40

Ballots sent back and unrecorded is a separate error. These represent votes that have gone missing, a serious mistake.
The number of these missing ballots is also large in each state.

Survey respondents were not asked if they received an unrequested ballot whether they sent these ballots back. This is
clearly a lively possibility, and represents a third possible source of error, including the potential of voting twice (once by
absentee and once at the polls). No estimates or likelihood can be calculated for this potential error due to absence of data.

4 Declaration of William M. Briggs, PhD

1. My name is William M. Briggs. I am over 18 years of age and am competent to testify in this action. All of the facts
stated herein are true and based on my personal knowledge.

2. I received a Ph.D of Statistics from Cornell University in 2004.

3. Iam currently a statistical consultant. I make this declaration in my personal capacity.

4. I have analyzed data regarding responses to questions relating to mail ballot requests, returns and related issues.

5. I attest to a reasonable degree of professional certainty that the resulting analysis are accurate.

I declare under the penalty of perjury that the foregoing is true and correct.

MW.

William M. Briggs

23 November 2020

5 Appendix

The probability pictures for each state for each outcome as mentioned above.

Probability of numbers of un-requested absentee ballots listed as
not returned for Georgia

 

 

 

 

 

 

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between 16938 and 22771

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Ballots Listed as Not Returned

Probability of numbers of absentee ballots returned but listed as
not returned for Georgia

 

 

 

 

 

 

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between 31559 and 38866

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Ballots Listed as Not Returned
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 4 of 40

Probability of numbers of un-requested absentee ballots listed as
not returned for Michigan

 

 

 

 

 

 

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Ballots Listed as Not Returned

Probability of numbers of absentee ballots returned but listed as
not returned for Michigan

 

 

 

 

 

 

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Ballots Listed as Not Returned

Probability of numbers of un-requested absentee ballots listed as
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Ballots Listed as Not Returned
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 5 of 40

Probability of numbers of un-requested absentee ballots listed as
not returned for Wisconsin

 

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Probability of numbers of absentee ballots returned but listed as
not returned for Wisconsin

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Ballots Listed as Not Returned
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 6 of 40

Response to Stephen Ansolabehere’s Comments Regarding
Absentee Ballots in Arizona

William M. Briggs
December 5, 2020

1 Summary

The criticisms made by Stephen Ansolabehere in response to my original report on absentee ballots
are not relevant, make simple errors in logic, and even, in part, work against him to show my original
argument could be made even stronger.

Ansolabehere repeatedly charges that because I was brief in saying “I assume survey respondents are
representative and the data is accurate” that therefore the respondents were not representative and the
data not accurate. This is a silly error and a wholly unwarranted conclusion. Not only was this data
entirely typical of phone surveys, and therefore the data having all the usual strengths and weaknesses of
the genre, it was extraordinary in that calls with respondents were recorded. The designers of the survey
evidently knew its quality would be attacked—and were prepared for it.

There were no fatal errors in the survey data or calculations, as the well-paid Ansolabehere falsely
claims. (Five hundred fifty American dollars per hour for the many hours he spent on his comments? My
work is entirely pro bono.) Instead, I took pains to put forward the most conservative case, interpreting
the data in a way that actually reduced the number of troublesome ballots.

Although Ansolabehere made many mistakes, I thank him for the opportunity of allowing me to
make a point I neglected to emphasize in my original presentation. This is the striking unity of results
across several battleground states, including Arizona. The data shows either an amazing coincidence in
accumulated troublesome ballots in just those places they were needed most for Biden, or the data shows
something more interesting happened.

What follows are answers to specific criticisms.

2 Rebuttal

Ansolabehere pads his account with many extraneous words and arguments. I will be much briefer, while
also answering every substantial criticism he made.

2.1 Error Definition

My original definition of errors were this:

Error #1: being recorded as sent an absentee ballot without requesting one. This is still an error
even if ballots were sent to all voters without request, because of the very real chance of double-voting
(in person and by mail).

Error #2: sending back an absentee ballot and having it recorded as not returned.

These followed directly from the survey design. The survey began by asking these specific questions
“Q1 - Hello, this is [yourname] with the Voter Integrity Fund. May I please speak to [T[ARGET]?” If the
person was available, they were asked “Q2 - [Target Name] in the state of [STATE] is marked as having
received an absentee ballot request from you but did not receive your absentee ballot. Did you request
an absentee ballot?”
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 7 of 40

Finally, if they said yes to that, respondents were asked “Q3 - Did you mail back that ballot?”

Ansolabehere finds ambiguity in these three simple questions via a wonderful display of specious
argument, one he repeats in many places. He basically says that because the questions could have been
misinterpreted in the various ways he suggests, they therefore were misinterpreted by a sufficient number
of respondents, thus rendering the survey useless.

My answer is that this is a dumb argument. He has no evidence misinterpretations were made in the
way he suggests. He could have spent the same amount of (expensive) time and came up with reasons
why the survey was not misinterpreted.

For instance, the election was in the news and people were riled. They therefore welcomed the chance
to set the record straight, and to ensure their legal ballots were counted. They were thus even more
honest than they normally would be with telephone pollsters.

Of course, I have no evidence this, or other similar stories, are true. Just as Ansolabehere has no
evidence his charges are true. All we can do, then, is to treat this survey like we treat all surveys: analyze
the data as it is presented.

2.2. Ambiguous Wording

I will give one specific example of Ansolabehere trying to discover ambiguity. They are all much the
same. He says (in point 7):

The wording of Question 3 also is very problematic. First, the survey does not ascertain
whether a ballot was in fact received. According to figures from the U.S. Election Assistance
Commission, there were 102,896 undeliverable absentee ballots. Neither Question 2 nor Ques-
tion 3 screens out people who did not receive a ballot. Second, Question 3 does not ascertain
whether the ballot was mailed back in a timely manner so as to be included in the record
of ballots cast. Third, Question 3 asks whether someone voted. As is well known among
political scientists and survey researchers, survey questions asking whether someone voted are
subject to substantial social desirability biases that lead to inflation in the estimated number
of voters.

here he says it’s possibly they didn’t. This is not consisent. And again, Ansolabehere uses the possibility
of a thing as proof the thing existed. There no evidence, not one bit, that ballots were sent back late.
Indeed, as all news reports indicate, certain late ballots were warmly accepted.

His second point is the same: because people lie on surveys, therefore they lied here in sufficient
number. Would Ansolabehere apply this same reasoning to his own words? It is clearly nonsense. If

accepted, his argument would toss out all surveys about voting.

2.3. Response Rate

Ansolabehere charges “the survey has extremely low response rates.” He must know that the response
rate here was not atypical. That is, it was low like many telephone polls are. But low does not imply too
low. He must know this. Further, the mathematical extrapolations I made accounted for the size of the
data.

Perhaps because Ansolabehere is a specialist in government, he does not know that when samples are
low the confidence we have in extrapolations is wider. I will give one example, using Arizona, though
this works for data from any state.

The original estimates of Error #2 for Arizona were that between 78,714—94,975 ballots were sent back
but recorded as not returned, a “plus or minus” window of 16,261 votes. If we suppose we had double the
response rate on the survey, in the same proportions as the original, then the Error #2 estimate becomes
81,739-93,214, a window of 11,475 votes. The 95% prediction interval shrinks, as expected, as we become
more confident.

It does not shrink by much, of course, showing the analysis method is robust. If instead we allow a
full ten times the original response rate, the plus-or-minus window shrinks to 5,046 votes.
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 8 of 40

Response rate is not a problem, and has been fully accounted for.

2.4 Top line Number Interpretations

Ansolabehere produces a lot of quibbles about the survey numbers, and uses the possibility of different
interpretations of the numbers to say my entire analysis can’t be trusted.

It is true that differences can exist in interpreting the top line numbers. I was aware of this when I
did the analysis, which is why I everywhere used conservative interpretations. If I instead use one of the
interpretations Ansolabehere suggests, the case about troublesome votes is made is even stronger.

I will use Arizona again as an example, though this applies to all states.

Again, the first question asked to speak to the relevant person. In Arizona, 1,872 were recorded as
“Reached target”, and an additional 335 were recorded as “‘What is this about?’/Uncertain [Go to Q2].”
I summed these two numbers to reach a total of 2,147.

One quibble is that the 335 who were uncertain should not be used in the total. If not, the sample
size is, of course, reduced to 1,872. Yet we still have 906 who said “No” when asked if they received an
absentee ballot. The ratio 906/1872 is larger than 906/1872, meaning it will look like even more errors
were made (of type Error #1).

The original estimate of Error #1 (being recorded as sent an absentee ballot without requesting
one) for Arizona was the window of 208,333-229,937. If we reduce the sample to 1,872 by excluding the
disputed 335, the new estimate is 239,518-262,932. It goes up in just the way we expect it to. This
proves using the full 1,872 is the conservative choice.

Another way to interpret the top lines is to use all people who got to the point of Question 1.
Ansolabehere disingenuously prefers this because it makes his case appear stronger.

Besides the two options to Question 1 already mentioned (reached target, uncertain), there were also
“Refused” and “Hangup”. I treated these as non-responses, which is the usual interpretation. A person
who hangs up without responding is the same as the person who never answers, as far as the answering
the question goes.

In the spirit of generosity, though, let’s use all 4,524 who reached Question 1 (instead of the original
2,147), including the hangups and refusals. The window for Error #1 becomes 98,2018-110,240. The
window shrinks, as Ansolabehere desires. But not by enough. This is still a large and troublesome window.
The same is true for each state investigated.

Even stronger, the window for Error #2, the more significant error, does not change. This is because
the calculations for this window are conditional only on those who answered Question 2 and 3.

Lastly, Ansolabehere disputes whether the answers spouses or other household members gave should
be allowed. I used them in the totals. Ansolabehere would exclude them. This is really a nitpicking point
because the total of these answers were small.

Here is proof. Again, the original window for Error#2 in Arizona was 78,714-94,975. This was
conditional on the 355 respondents or their spouses or household members who said they mailed a ballot
back. If we remove the 17 spouses or household members, the window becomes 76,176—92,232. It shrinks
a bit. But again, not by enough.

All comments made here hold for all states.

3 Conclusion

The doubts cast on my original analysis by Ansolabehere either fail simple tests of logic, or are so small
as to make no practical difference in the conclusion.

All his logical errors can be dismissed. Suggesting, as he often does, that mistakes can be made or
that ambiguity might exist in the survey, is not proof that either does exist. I could have spent an equal
amount of (unremunerated in my case) time suggesting ways the survey was better than most political
polls. For instance, people are aware now more than ever of the importance of this election and they took
greater care with their answers. I did not do this in the original report because I, unlike Ansolabehere,
know the true value of such speculations.
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 9 of 40

The various numerical quibbles Ansolabehere has with the survey numbers either strengthen my case,
or they are so small as to make no practical difference. Even with his own difficult-to-justify assumptions,
the analysis reveals there still exist very large numbers of troublesome ballots in each battleground state.
There are enough suspicious ballots left, even using his numbers, that could have changed the outcome
of the election.

Finally, I reemphasize the remarkable coincidence that the amount of troublesome ballots was impor-
tant to the election outcome in each state.

4 Declaration of William M. Briggs, PhD

1. My name is William M. Briggs. I am over 18 years of age and am competent to testify in this action.
All of the facts stated herein are true and based on my personal knowledge.

2. I received a Ph.D of Statistics from Cornell University in 2004.

3. I am currently a statistical consultant. I make this declaration in my personal capacity.

4. I have analyzed data regarding responses to questions relating to mail ballot requests, returns and
related issues.

5. I attest to a reasonable degree of professional certainty that the resulting analysis are accurate.

I declare under the penalty of perjury that the foregoing is true and correct.

hh Bi,

William M. Briggs

5 December 2020
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 10 of 40

An Analysis of Surveys Regarding Absentee Ballots Across Several States

William M. Briggs
November 23, 2020

1 Summary

Survey data was collected from individuals in several states, sampling those who the states listed as not returning absentee
ballots. The data was provided by Matt Braynard.

The survey asked respondents whether they (a) had ever requested an absentee ballot, and, if so, (b) whether they had
in fact returned this ballot. From this sample I produce predictions of the total numbers of: Error #1, those who were
recorded as receiving absentee ballots without requesting them; and Error #2, those who returned absentee ballots but
whose votes went missing (i.e. marked as unreturned).

The sizes of both errors were large in each state. The states were Georgia, Michigan, Wisconsin, and Arizona where
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Each analysis was carried out separately for each state. The analysis used (a) the number of absentee ballots recorded as
unreturned, (b) the total responding to the survey, (c) the total of those saying they did not request a ballot, (d) the total
of those saying they did request a ballot, and of these (e) the number saying they returned their ballots. I assume survery
respondents are representative and the data is accurate.

From these data a simple parameter-free predictive model was used to calculate the probability of all possible outcomes.
Pictures of these probabilities were derived, and the 95% prediction interval of the relevant numbers was calculated. The
pictures appear in the Appendix at the end. They are summarized here with their 95% prediction intervals.

Error #1: being recorded as sent an absentee ballot without requesting one.

Error #2: sending back an absentee ballot and having it recorded as not returned.

 

State Unreturned ballots Error #1 Error #2

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*Number for Pennsylvania represent Republican ballots only.

Ballots that were not requested, and ballots returned and marked as not returned were classed as troublesome. The
estimated average number of troublesome ballots for each state were then calculated using the table above and are presented
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State Unreturned ballots Estimated average Percent
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*Number for Pennsylvania represent Republican ballots only.

3 Conclusion

There are clearly a large number of troublesome ballots in each state investigated. Ballots marked as not returned that were
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Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 11 of 40

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clearly a lively possibility, and represents a third possible source of error, including the potential of voting twice (once by
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1. My name is William M. Briggs. I am over 18 years of age and am competent to testify in this action. All of the facts
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4. I have analyzed data regarding responses to questions relating to mail ballot requests, returns and related issues.

5. I attest to a reasonable degree of professional certainty that the resulting analysis are accurate.

I declare under the penalty of perjury that the foregoing is true and correct.

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William M. Briggs

23 November 2020

5 Appendix

The probability pictures for each state for each outcome as mentioned above.

Probability of numbers of un-requested absentee ballots listed as
not returned for Georgia

 

 

 

 

 

 

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Probability of numbers of absentee ballots returned but listed as
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Ballots Listed as Not Returned
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 12 of 40

Probability of numbers of un-requested absentee ballots listed as
not returned for Michigan

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Ballots Listed as Not Returned
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 13 of 40

Probability of numbers of un-requested absentee ballots listed as
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Probability of numbers of absentee ballots returned but listed as
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6 0.00004: requested but marked as not
6 0.00003- returned
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Ballots Listed as Not Returned
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S$ 0.00004: returned
a.
0.00002- |
0.00000-

 

 

 

 

6 50,000 400,065 750,006 209.G06 256,600 306.006 350,969 490,000 456,906 560,006

Ballots Listed as Not Returned

Or
o
2
Ss
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 14 of 40

0276 GA Unreturned_Absentee Live ID Topline

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11/16/2020} 11/17/2020
15179|Completes 8143 7036
184)/Q5=01 or 02 status =C 64 120
13,479] Answering Machines status = AM 7090 6389
1,516)/up/RC status = R, IR, RC, DC 989 527
4,902| Numbers/Language status = D, BC,WN, NE 2436 2466
O|MA status = MA 0 0
58.45%|List Penetration
34,355) Data Loads 34,355
- <
Q1 - May I please speak to <lead on Response 46-Nov 47-Nov
screen>?
767 65.28%]1. Reached Target [Go to Q2]. 446 321
255 21.70%|[Go to Q2]. 165 90
153 13.02%|X = Refused <Go to CLOSE A> 104 49
385 32.77%|Q = Hangup <Go to CLOSE A> 267 118
1,175 100.00%/Sum of All Responses 982 578
Q2 - Did you request an absentee Response 416-Nov 417-Nov
ballot?
591 61.31%]1. Yes. [Go to Go to Q3]. 343 248
128 13.28%|2. No. [Go to Q4]. 84 44

 

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 15 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

39 4.05%|member confirmed “Yes” [Go to 24 15
14 1.45%|member confirmed “No” [Go to Q4] 11 3
40 4.15%|5. Unsure. [Go to Q3]. 26 14
82 8.51%|moment. [Go to Close A] 48 34
70 7.26%|X = Refused <Go to CLOSE A> 42 28
58 6.02%|Q = Hangup <Go to CLOSE A> 33 25
964 100.00%|Sum of All Responses 611 411

Q3 - Did you mail back that ballot? |Response 16-Nov 17-Nov
240 38.52%|1. Yes. [Go to Go to Q4]. 149 91
317 50.88%|2. No. [Go to Close A]. 174 143
17 2.73%|member confirmed “Yes” [Go to 10 7

member confirmed “No” [Go to
7 14a Close A] 4 5
24 3.85%|5. Unsure. [Go to Close A]. 14 10
11 1.77%|moment. [Go to Close A] 8 3
5 0.80%|X = Refused <Go to CLOSE A> D 0
7 4.12%|Q = Hangup <Go to CLOSE A> 3 4
623 100.00%|Sum of All Responses 367 263
Gi = Call you prease YIVe US UTE

best phone number to reach you Response 16-Nov 17-Nov
, 18 82.15%|01 = Yes <Go to Q5> 205 108
49 12.86%|02 = No <Go to Q5> 26 23
19 4.99%|X = Refused <Go to CLOSE A> 13 6
18 4.72%|Q = Hangup <Go to CLOSE A> 10 8

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 16 of 40

 

 

 

 

 

 

 

 

| 381| 100.00%|Sum of All Responses 254| 145]
Q5 - May we please have an email
sdeirematta followup as well? Response TeNOv TieNew
99 28.86%]01 = Yes <Go to CLOSE B> 64 35
229 66.76%]02 = No <Go to CLOSE B> 144 85
15 4.37%|X = Refused <Go to CLOSE A> 11 4
19 5.54%|Q = Hangup <Go to CLOSE A> 12 7
343 100.00%|Sum of All Responses 231 131

 

 

 

 

 

 

 
 

Case 1:20-cv-05155-TCB Document 2-1

MI Unreturned Live Agent - Mass Markets

Filed 12/18/20 Page 17 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11/15/2020) 11/16/2020) 11/17/2020
3,815 | Completes - 990 2,825
248) Q4=01 1-Completed Survey - 36 212
1,257|VM Message Left 2-Message Delivered VM - 388 869
2,310) up/RC 3-Refused - 566 1,744
62,569|No Answer 4-No Answer - 15,482 47,087
3,644] Numbers/Language 5-Bad Number - 570 3,074
100.00%/List Penetration
70,030|Data Loads
Q1 - May I please speak to <lead on R
screen>? esponse 11/15/2020| 11/16/2020] 11/17/2020
958 23.65%|A-Reached Target - 158 800
142 3.51%] Uncertain - 57 35
2,950 72.84%|X = Refused - 883 2,067
0 0.00%
4,050 100.00%/Sum of All Responses - 1,098 2,952
Q2 - Did you request Absentee R
Ballot in state of MI? epee
11/15/2020} 11/16/2020) 11/17/2020
752 49.64%|A-Yes [Go to Q3] - 167 585

 

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 18 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

239 15.78%|B-No [Go to Q4] - 39 200
50 3.30%|Member) [Go to Q3] - 5 45
17 1.12%|Member) [Go to Q4] - 2 15
of 2.44%|E-Unsure [Go to Close A] - 4 oo
11 0.73%|Moment [Go to Close A] - 2 9
409 27.00%|X = Refused - 63 346
1,515 100.00%/Sum of All Responses - 282 1,233
Q3 - Did you mail your ballot back? |Response 11/15/2020) 11/16/2020) 11/17/2020
232 21.28%|A-Yes [Go to Q4] - 41 191
472 43.30%|B-No [Go to Close A] - 109 363
10 0.92%|Member) [Go to Q4] - 2 8
28 2.57%|Member) [Go to Close A] - 2 26
22 2.02%| Close A] - o 17
326 29.91%|X = Refused - 60 266
1,090 100.00%|Sum of All Responses - 219 871
Q4 - Can you please give us the
best phone number to reach you Response
at? 11/15/2020) 11/16/2020) 11/17/2020
246 69.89%|to Q5] a - 36 210
106 30.11%|B-Refused [Go to Q5] - 27 79

 

 

 

 

 

 

 

 
Case 1:20-cv-05155-TCB Document 2-1

Filed 12/18/20 Page 19 of 40

 

 

 

 

 

 

 

 

 

 

 

 

0 0.00%

0 0.00%
352 100.00%|Sum of All Responses - 63 289

Q5 - Can you provide us your email REEponse

address? 11/15/2020} 11/16/2020) 11/17/2020
18 7.26%|01-Yes [Go to Close B] - 5 13
230 92.74%|02-No [Go to Close B] - 31 199

0 0.00%
248 100.00%/Sum of All Responses - 36 212

 

 

 

 

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 20 of 40

WI Unreturned Live Agent - Mass Markets

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11/15/2020) 11/16/2020| 11/17/2020
4,614 | Completes - 3,483 1,131
433|Completed survey** - Q4=0/1-Completed Survey - 300 133
1,053}VM Message Left 2-Message Delivered VM - 804 249
3,128|Refused/Early Hang up/RC |3-Refused - 2,379 749
50,712|No Answer 4-No Answer - 40,391 10,321
1,944|Bad/Wrong Numbers/Langt5-Bad Number - 1,289 655
100.00%|List Penetration
57,271|Data Loads
Q1 - May I please speak to <lead on Response
screen>? P 11/15/2020) 11/16/2020) 11/17/2020
A-Reached Target + B-What Is This
2,261 64.69%|About? / Uncertain - 1,343 A475
1,677 47.98%|X = Refused - 1,202 475
0 0.00%
3,495 100.00%|Sum of All Responses - 2,545 950
Q2 - Did you request Absentee Ballot R
in state of WI? Ep iee
11/15/2020) 11/16/2020) 11/17/2020
1,699 62.39%|A-Yes [Go to Q3] - 1,374 325

 

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 21 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

379 13.92%|B-No [Go to Q4] - 240 139
C-Yes (per Spouse/family Member)
Oo
a2 1.18%} G6 to Q3] . 16 16
D-No (per Spouse/family Member)
Oo
4 0.19%] [G0 to Q4] 4
44 1.62%|E-Unsure [Go to Close A] - 25 19
F-Not Available At The Moment [Go
oO
’ 0.19% 115 Close Al - 2 2
561 20.60%|X = Refused - 405 156
2,723 100.00%/Sum of All Responses - 2,062 661
Q3 - Did you mail your ballot back? |Response 11/15/2020) 11/16/2020} 11/17/2020
316 14.67%|A-Yes [Go to Q4] - 238 78
1,286 59.70%|B-No [Go to Close A] - 1,069 217
C-Yes (per Spouse/family Member)
0
9 0.42401 G0 to Q4] - 4 5
D-No (per Spouse/family Member)
0
a 0.70% [Go to Close A] - 8 f
28 1.30%|E-Unsure / Refused [Go to Close A] ' 24 4
500 23.21%|X = Refused - 314 186
2,154 100.00%|Sum of All Responses - 1,657 497

 

 

 
 

Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 22 of 40

 

Q4 - Can you please give us the best

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

phone number to reach you at? Response
11/15/2020) 11/16/2020} 11/17/2020
432 80.00%|A-Yes (Capture Number) [Go to Q5] s 300 132
108 20.00%|B-Refused [Go to Q5] - 77 31
0 0.00%
0 0.00%
540 100.00%|Sum of All Responses - 377 163
Q5 - Can you provide us your email Response
address? 11/15/2020) 11/16/2020} 11/17/2020
50 11.55%101-Yes [Go to Close B] - of 13
363 88.45%|02-No [Go to Close B] - 263 120
0 0.00%
433 100.00%|Sum of All Responses - 300 133

 

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 23 of 40

0270 PA Absentee Live ID Topline

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11/9/2020} 11/10/2020} 11/11/2020
18037|Completes 4419 13618 0
834! survey** -Q4=01 {status = C 178 656
14,203]Machines status = AM 3465 10738
3,000}Hang up/RC status = R, IR, RC, DC 776 2224
3,521|Numbers/Languag |status = D, BC,WN, NE 556 2965
O|MA status = MA
87.70%|List Penetration
24,581|Data Loads 24,581
Q1 - May | please speak to Response 9-Nov 10-Nov 11-Nov
<lead on screen>?
2,262 75.86%]1. Reached Target [Go to Q2]. 593 1,669
422 14.15%|Q2]. 102 320
298 9.99%|X = Refused <Go to CLOSE A> if 221
739 24.78%|Q = Hangup <Go to CLOSE A> 160 579
2,982 100.00%/Sum of All Responses 932 2789 0
Q2 - Did you request an
absentee ballot? Response 9-Nov 10-Nov 11-Nov
1,114 43.91%]1. Yes. [Go to Go to Q3]. 331 783
531 20.93%]2. No. [Go to Q4]. 34 400

 

 

 
Case 1:20-cv-05155-TCB Document 2-1

Filed 12/18/20 Page 24 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

36 1.42%|confirmed “Yes” [Go to Q3] 12 24
25 0.99%] confirmed “No” [Go to Q4] 9 16
91 3.59%|5. Unsure. [Go to Q3]. 25 66
89 3.51%|moment. [Go to Close A] Tt 72
544 21.44%|A] 105 439
107 4,22%|X = Refused <Go to CLOSE A> 29 78
147 5.79%|Q = Hangup <Go to CLOSE A> 36 111
2,537 100.00%|Sum of All Responses 695 1989
QS - Did you mail back that Response 9-Nov 10-Nov 11-Nov
ballot?
452 39.75%] 1. Yes. [Go to Go to Q4]. 90 362
632 55.58%|2. No. [Go to Close A]. 229 403
11 0.97%| confirmed “Yes” [Go to Q4] 1 10
11 0.97%| confirmed “No” [Go to Close A] 4 rt
15 1.32%|5. Unsure. [Go to Close A]. 6 9
2 0.18%|moment. [Go to Close A] 0 9
14 1.23%|X = Refused <Go to CLOSE A> 5 9
13 1.14%|Q = Hangup <Go to CLOSE A> 8 5
1,137 100.00%/Sum of All Responses 343 807
(W4= Call you prease give us
the best phone number to Response 9-Nov 10-Nov 11-Nov
sae eSat 87.61%|01 = Yes <Go to CLOSE B> 178 656
118 12.39%|X = Refused <Go to CLOSE A> 36 82
67 7.04%|Q = Hangup <Go to CLOSE A> 17 50
952 100.00%/Sum of All Responses 231 788

 

 
AZ Unreturned Live Agent - Mass Markets

Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 25 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11/15/2020) 11/16/2020) 11/17/2020
5,604 | Completes 745 1,881 2,978
684/Q4=01 1-Completed Survey 116 212 356
1,945|/VM Message Left 2-Message Delivered VM 90 657 1,198
2,975} up/RC 3-Refused 539 1,012 1,424
74,437|No Answer 4-No Answer 6,764 25,056 42,617
1,663} Numbers/Language 5-Bad Number 245 384 1,034
100.00%|List Penetration
81,708|}Data Loads
Q1 - May I please speak to <lead cm 5
on screen>? esponse 41/15/2020] 11/16/2020) 11/17/2020
1,812 40.05%]|A-Reached Target 307 554 951
335 7.40%] Uncertain 80 124 131
2,377 52.54%! X = Refused 382 854 1,141
0 0.00%
4,524 100.00%/Sum of All Responses 769 1,532 2,223
Q2 - Did you request Absentee R
Ballot in state of AZ? esponse
11/15/2020) 11/16/2020) 11/17/2020
1,120 45.00%) A-Yes [Go to Q3] 210 361 549

 

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 26 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

885 35.56%|B-No [Go to Q4] 162 286 437

24 0.96%|Member) [Go to Q3] 5 9 10

21 0.84%|Member) [Go to Q4] S 10 8

72 2.89%|E-Unsure [Go to Close A] 10 18 44

7 0.28%|[Go to Close A] ; 7 6

360 14.46%|X = Refused 45 69 246

2,489 100.00%|Sum of All Responses 435 754 1,300

Q3 - Did you mail your ballot Response 11/15/2020} 11/16/2020) 11/17/2020

344 16.16%|A-Yes [Go to Q4] 67 112 165

696 32.69%|B-No [Go to Close A] 116 21 343

11 0.52%|Member) [Go to Q4] 2 2 7

9 0.42%|Member) [Go to Close A] 4 4 A

14 0.66%|Close A] 3 4 7

1,055 49.55%|X = Refused 201 326 528

2,129 100.00%|Sum of All Responses 390 685 1,054

Q4 - Can you please give us the

best phone number to reach you|Response

at? 11/15/2020} 11/16/2020) 11/17/2020

678 82.48%1Q5] 116 212 350

144 17.52%|B-Refused [Go to Q5] 38 50 56

 

 

 

 

 

 

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 27 of 40

 

 

 

 

 

 

 

 

 

 

 

0 0.00%
0 0.00%
822 100.00%|Sum of All Responses 154 262 406
Q5 - Can you provide us your Response
email address? 11/15/2020) 11/16/2020) 11/17/2020
127 18.57%|01-Yes [Go to Close B] 24 36 67
557 81.43%|02-No [Go to Close B] 92 176 289
0 0.00%
684 100.00%|Sum of All Responses 116 212 356

 

 

 

 

 

 

 
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 28 of 40

William M. Briggs, PhD
Statistician to the Stars!
matt@wmbriggs.com
917-392-0691

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1. EXPERIENCE

2016: AUTHOR OF Uncertainty: The Soul of Modeling, Probability & Sta-
tistics, a book which argues for a complete and fundamental change in the
philosophy and practice of probability and statistics. Eliminate hypothesis
testing and estimation, and move to verifiable predictions. This includes
Al and machine learning. Call this The Great Reset, but a good one.
2004-2016 ADJUNCT PROFESSOR OF STATISTICAL SCIENCE, CORNELL
UNIVERSITY, ITHACA, NEW YORK
I taught a yearly Masters course to people who (rightfully) hate statistics.
Interests: philosophy of science & probability, epistemology, epidemiology
(ask me about the all-too-common epidemiologist fallacy), Bayesian sta-
tistics, medicine, climatology & meteorology, goodness of forecasts, over-
confidence in science; public understanding of science, limitations of science,
scientism; scholastic metaphysics (as it relates to epistemology).
1998-PRESENT. STATISTICAL CONSULTANT, VARIOUS COMPANIES
Most of my time is spent coaxing people out of their money to tell them
they are too sure of themselves. All manner of analyses cheerfully un-
dertaken. Example: Fraud analysis; I created the Wall Street Journal’s
College Rankings. I consultant regularly at Methodist and other hospitals,
start-ups, start-downs, and with any instition willing to fork it over.
2003-2010. RESEARCH SCIENTIST, NEW YORK METHODIST HOSPITAL,
NEw YORK
Besides the usual, I sit /sat on the Institutional Review Committee to assess
the statistics of proposed research. I was an Associate Editor for Monthly
Weather Review (through 2011). Also a member of the American Meteoro-
logical Society’s Probability and Statistics Committee (through 2011). At
a hospital? Yes, sir; at a hospital. It rains there, too, you know.
FALL 2007, FALL 2010 VISITING PROFESSOR OF STATISTICS, DEPART-
MENT OF MATHEMATICS, CENTRAL MICHIGAN UNIVERSITY, MT. PLEAS-
ANT, MI
Who doesn’t love a visit from a statistician? Ask me about the difference
between “a degree” and “an education.”
2003-2007, ASSISTANT PROFESSOR STATISTICS, WEILL MEDICAL COL-
LEGE OF CORNELL UNIVERSITY, NEW YORK, NEw YORK
Working here gave me a sincere appreciation of the influences of government
money; grants galore.
2002-2003. GOTHAM RISK MANAGEMENT, NEW YORK
A start-up then, after Enron’s shenanigans, a start-down. We set future
weather derivative and weather insurance contract prices that incorporated
information from medium- and long-range weather and climate forecasts.
1998-2002. DOUBLECLICK, NEw YORK
Lead statistician. Lot of computer this and thats; enormous datasets.
1993-1998. GRADUATE STUDENT, CORNELL UNIVERSITY

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Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 29 of 40

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Meteorology, applied climatology, and finally statistics. Was Vice Chair of
the graduate student government; probably elected thanks to a miracle.
1992-1993. NATIONAL WEATHER SERVICE, SAULT STE. MARIE, MI
Forecast storms 0’ the day and launched enormous balloons in the name of
Science. My proudest moment came when I was able to convince an ancient
IBM-AT machine to talk to an analog, 110 baud, phone-coupled modem,
all using BASIC!

1989-1992. UNDERGRADUATE STUDENT, CENTRAL MICHIGAN UNIVER-
SITY

Meteorology and mathematics. Started the local student meteorology group
to chase tornadoes. Who knew Michigan had so few? Spent a summer at
U Michigan playing with a (science-fiction-sounding) lidar.

1983-1989. UNITED STATES AIR FORCE

Cryptography and other secret stuff. Shot things; learned pinochle. I
adopted and became proficient with a fascinating and versatile vocabulary.
Irritate me for examples. TS/SCI, etc. security clearance (now inactive).

2. EDUCATION

Ph.D., 2004, Cornell University. Statistics.

M.S., 1995, Cornell University. Atmospheric Science.

B.S., Summa Cum Laude, 1992, Central Michigan University. Meteorology
and Math.

3. PUBLICATIONS

3.0.1. Popular.

(1)

Op-eds in various newspapers; articles in Stream, Crisis Magazine, The
Remnant, Quadrant, Quirks; blog with ~70,000 monthly readers. Various
briefs submitted to government agencies, such as California Air Resources
Board, Illinois Department of Natural Resources. Talks and holding-forths
of all kinds.

3.0.2. Books.

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(4)

Richards, JW, WM Briggs, and D Axe, 2020. UThe Price of Panic: How
the Tyranny of Experts Turned a Pandemic into a Catastrophe. Regnery.
Professors Jay Richards, William Briggs, and Douglas Axe take a deep dive
into the crucial questions on the minds of millions of Americans during one
of the most jarring and unprecedented global events in a generation.
Briggs, WM., 2016. Uncertainty: The Soul of Modeling, Probability &
Statistics. Springer. Philosophy of probability and statistics. A new (old)
way to view and to use statistics, a way that doesn’t lead to heartbreak
and pandemic over-certainty, like current methods do.

Briggs, WM., 2008 Breaking the Law of Averages: Real Life Probability and
Statistics in Plain English. Lulu Press, New York. Free text for undergrad-
uates.

Briggs, WM., 2006 So You Think You’re Psychic? Lulu Press, New York.
Hint: Pll bet you’re not.
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 30 of 40

3.0.3. Methods.

(1)

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Briggs, WM and J.C. Hanekamp, 2020. Uncertainty In The MAN Data
Calibration & Trend Estimates. Atmospheric Environment, In review.
Briggs, WM and J.C. Hanekamp, 2020. Adjustments to the Ryden & Mc-
Neil Ammonia Flux Model. Soil Use and Management, In review.

Briggs, William M., 2020. Parameter-Centric Analysis Grossly Exaggerates
Certainty. In Data Science for Financial Econometrics, V Kreinovich, NN
Thach, ND Trung, DV Thanh (eds.), In press.

Briggs, WM, HT Nguyen, D Trafimow, 2019. Don’t Test, Decide. In
Behavioral Predictive Modeling in Econometrics, Springer, V Kreinovich, S
Sriboonchitta (eds.). In press.

Briggs, William M. and HT Nguyen, 2019. Clarifying ASA’s view on p-
values in hypothesis testing. Asian Journal of Business and Economics,
03(02), 1-16.

Briggs, William M., 2019. Reality-Based Probability & Statistics: Solv-
ing The Evidential Crisis (invited paper). Asian Journal of Business and
Economics, 03(01), 37-80.

Briggs, William M., 2019. Everything Wrong with P-Values Under One

Roof. In Beyond Traditional Probabilistic Methods in Economics, V Kreinovich,

NN Thach, ND Trung, DV Thanh (eds.), pp 22—44.

Briggs, WM, HT Nguyen, D Trafimow, 2019. The Replacement for Hy-
pothesis Testing. In Structural Changes and Their Econometric Modeling,
Springer, V Kreinovich, S Sriboonchitta (eds.), pp 3—17.

Trafimow, D, V Amrhein, CN Areshenkoff, C Barrera-Causil, .... WM
Briggs, (45 others), 2018. Manipulating the alpha level cannot cure sig-
nificance testing. Frontiers in Psychology, 9, 699. doi.org/10.3389/ fp-
syg.2018.00699.

Briggs, WM, 2018. Testing, Prediction, and Cause in Econometric Models.
In Econometrics for Financial Applications, ed. Anh, Dong, Kreinovich,
and Thach. Springer, New York, pp 3-19.

Briggs, WM, 2017. The Substitute for p-Values. JASA, 112, 897-898.
J.C. Hanekamp, M. Crok, M. Briggs, 2017. Ammoniak in Nederland.
Enkele kritische wetenschappelijke kanttekeningen. V-focus, Wageningen.
Briggs, WM, 2017. Math: Old, New, and Equalitarian. Academic Ques-
tions, 30(4), 508-513.

Monckton, C, W Soon, D Legates, ... (several others), WM Briggs 2018. On
an error in applying feedback theory to climate. In submission (currently
J. Climate).

Briggs, WM, JC Hanekamp, M Crok, 2017. Comment on Goedhart and
Huijsmans. Soil Use and Management, 33(4), 603-604.

Briggs, WM, JC Hanekamp, M Crok, 2017. Response to van Pul, van
Zanten and Wichink Kruit. Soil Use and Management, 33(4), 609-610.
Jaap C. Hanekamp, William M. Briggs, and Marcel Crock, 2016. A volatile
discourse - reviewing aspects of ammonia emissions, models, and atmo-
spheric concentrations in The Netherlands. Soil Use and Management,
33(2), 276-287.
Case 1:20-cv-05155-TCB Document 2-1 Filed 12/18/20 Page 31 of 40

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Christopher Monckton of Brenchley, Willie Soon, David Legates, William
Briggs, 2015. Keeping it simple: the value of an irreducibly simple climate
model. Science Bulletin. August 2015, Volume 60, Issue 15, pp 1378-1390.
Briggs, WM, 2015. The Third Way Of Probability & Statistics: Beyond
Testing and Estimation To Importance, Relevance, and Skill. arziv.org/
abs/1508.02384.

Briggs, WM, 2015. The Crisis Of Evidence: Why Probability And Statistics
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